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 7   SHENZHEN YAPU TECH. CO., LTD. and
     SICHUAN WURUI TECH. CO., LTD.
 8
 9
                              UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
12
13
                                     ) Case No.: 2:22-cv-1403
14   SHENZHEN YAPU TECH. CO., LTD. )
15   and SICHUAN WURUI TECH. CO., ) COMPLAINT FOR BREACH OF
     LTD.,                           ) CONTRACT, CONVERSION,
16                                   ) NEGLIGENT
17                Plaintiffs,        ) MISREPRESENTATION,
                                     ) FRAUDULENT
18
           vs.                       ) MISREPRESENTATION AND
19                                   ) FRAUD
20
     INTEGRATED VIRAL PROTECTION )
     SOLUTIONS LLC, a Texas Limited  )
21   Liability Company, and MEDISTAR )
22   CORPORATION, a Delaware         )
     Corporation,                    )
23                                   )
24                Defendants.        )
                                     )
25
26          Plaintiffs SHENZHEN YAPU TECH. CO., LTD. and SICHUAN WURUI
27   TECH. CO., LTD. hereby allege as follows:
28


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 1                                         INTRODUCTION
 2          1.      This is an action for breach of contract, negligent misrepresentation,
 3   fraudulent misrepresentation and fraud, wherein Plaintiffs SHENZHEN YAPU
 4   TECH. CO., LTD. (“Shenzhen Yapu”) and SICHUAN WURUI TECH. CO.,
 5   LTD. (“Sichuan WuRui”) and their attorney allege the following:
 6
 7                                               PARTIES
 8          2.      Plaintiffs Shenzhen Yapu and Sichuan WuRui are manufacturers of
 9   sophisticated air purification systems and components and other products in
10   China. Shenzhen Yapu is a corporation registered in Shenzhen, Guangdong
11   Province, China.          Sichuan WuRui is a corporation registered in Sichuan
12   Province, China.
13          3.      Shenzhen Yapu has a business address at Room 702, Xianke
14   Electromechanical Building, No. 2, Bagua 4th Road, Shanglin Community,
15   Yuanling Street, Futian District, Shenzhen 518000, China. Sichuan WuRui has
16   a business address at Room 2726, Unit 2, Multifunctional Building, N. 88,
17   Honggao Rd., Hongguang Town, Pidu District, Chengdu, Sichuan, China.
18          4.      Defendant MEDISTAR CORPORATION (“Medistar”) is a real
19   estate development company that operates nationwide in the development,
20   financing and acquisition of hospitals, medical education facilities, nursing and
21   transitional care facilities, medical plazas and office buildings, life science and
22   biomedical buildings, commercial office buildings, multi-family residential
23   communities and mixed-use developments. Medistar has a business address at
24   7670 Woodway, Suite 160, Houston, Texas 77063-1594.
25          5.      Defendant Integrated Viral Protection Solutions, LLC (“IVP”) sells
26   air purifiers and air purification systems to customers, distributors and partners
27   throughout the United States and the world. IVP has a business address at 7670
28   Woodway, Suite 165, Houston, Texas 77063-1594.

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 1            6.     On information and belief, and thereon alleged, Defendant Medistar
 2       in a Delaware corporation, and Defendant IVP is a Texas limited liability
 3       company.
 4            7.     On information and belief, and thereon alleged, IVP is a wholly-
 5       owned division of Medistar.1
 6            8.     On information and belief, and thereon alleged, Monzer Hourani is
 7       the founder and agent for service of process for both Medistar and IVP. Monzer
 8       Hourani is believed to be the CEO of Medistar and the Chairman and CEO of
 9       IVP. Dr. Garrett Peel is believed to be the Managing Director of IVP (or at least
10       was a Managing Director and Principal of IVP during all of the relevant events
11       described herein between Plaintiffs and Defendants) and a former Vice President
12       of Medistar.
13            9.     Monzer Hourani is the first-named inventor on U.S. Patent
14       Application Publication Nos. 2021/0339183 and 2021/0339184, each of which
15       names IVP as an Applicant.2             By virtue of assignments recorded in the
16       Assignment Recordation Branch of the U.S. Patent and Trademark Office at
17       reels/frames 054681/0787 and 054682/0066, Mr. Hourani assigned his rights
18       and/or interest in the U.S. patent applications corresponding to these patent
19       publications directly to IVP.3
20
21
22
23
     1
       See “COVID-killing air filter recognized by American Society of Mechanical Engineers
24   (ASME), award given to inventor Monzer Hourani,” press release dated Dec. 8, 2020 by
     Medistar Corporation, downloaded from https://www.ivpair.com/2020/12/08/covid-killing-air-
25
     filter-recognized-by-american-society-of-mechanical-engineers-asme-award-given-to-inventor-
26   monzer-hourani/, submitted herewith as Exhibit A.
     2
       See the cover pages of U.S. Pat. Appl. Publ. Nos. 2021/0339183 and 2021/0339184, submitted
27   herewith as Exhibit B.
     3
       See the Assignment abstract of title for Applications 16883977 and 16883981, submitted
28
     herewith as Exhibit C.

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 1               10.   Medistar actively publishes press releases and news regarding the
 2       business of IVP on its website.4 Medistar and IVP are in nearby or adjacent
 3       suites at the same street address.
 4               11.   The authors of a publication entitled “Catching and killing of
 5       airborne SARS-CoV-2 to control spread of COVID-19 by a heated air
 6       disinfection system,” published in Material Today Physics online on or around
 7       July 7, 2020 include G.K. Peel and M. Hourani of Medistar Corporation.5 The
 8       publisher, Elsevier Ltd., reports receiving the publication on June 26, 2020, after
 9       IVP was registered as a business organization in the State of Texas and after the
10       patent applications corresponding to the patent publications in Exhibit B were
11       assigned to IVP.
12               12.   Medistar and IVP are in complementary businesses, in that the
13       products sold by IVP are or can be used in the real estate developments of
14       Medistar. On information and belief, and thereon alleged, Medistar uses the
15       products and/or air purification technology of IVP in its real estate
16       developments.
17               13.   On information and belief, and thereon alleged, and for reasons that
18       will become apparent in this Complaint, Medistar underfunded IVP, and
19       continues to underfund IVP.
20               14.   On information and belief, and thereon alleged, Medistar has
21       regularly paid invoices and other obligations on behalf of IVP, in at least one
22       instance as recently as September 2021.
23               15.   Based on at least the allegations herein, Medistar and IVP are alter
24       egos.
25               16.   On information and belief, and thereon alleged, both Medistar and
26       IVP conduct business in California.              For example, Medistar is currently
27   4
       See the printout of the “News” page on the Medistar Corporation website
     (https://www.medistarcorp.com/news), submitted herewith as Exhibit D.
28   5
       See Exhibit E, submitted herewith.

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 1       developing a freestanding Inpatient Rehabilitation Hospital (Stockton Regional
 2       Rehabilitation Hospital) in Stockton, San Joaquin County, California.6 Medistar
 3       also developed a Class A integrated medical plaza for The Kerlan-Jobe
 4       Orthopaedic Clinic in Los Angeles, California, and may have ongoing
 5       obligations and liabilities associated therewith.7 IVP is believed to have sales to
 6       customers in California, including at least one customer in this District, and
 7       frequently ships and imports its products through this District.
 8             17.    A number of events giving rise to causes of action herein occurred in
 9       California, and in this District in particular.
10
11                                 JURISDICTION AND VENUE
12             18.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §
13       1332, as the matter in controversy exceeds the sum of $75,000 and involves
14       citizens of a State and citizens or subjects of a foreign state.
15             19.    This Court has personal jurisdiction over Medistar, who has
16       conducted and does conduct business within the State of California and within
17       this District.
18             20.    This Court has personal jurisdiction over IVP, who has conducted
19       and does conduct business within the State of California and within this District.
20             21.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
21       because part of the events or omissions giving rise to the claims occurred in this
22       District, and Medistar and IVP are subject to personal jurisdiction in this District
23       and conduct business in this District.
24
25
26
     6
       See https://www.medistarcorp.com/in-development/, a printout of which is submitted herewith
27   as Exhibit F.
     7
       See https://www.medistarcorp.com/completed/, a printout of which is submitted herewith as
28
     Exhibit G.

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 1                                  FACTUAL BACKGROUND
 2          22.     From December 29, 2020 (or thereabout) to September 9, 2021 (or
 3   thereabout), IVP placed numerous purchase orders with Shenzhen Yapu and
 4   Sichuan WuRui for air purifiers and related products. Specifically, IVP placed
 5   seven purchase orders (PO-00004, PO-WR-00011, PO-WR-00014, PO-WR-
 6   00015, PO-00053, PO-00065 and PO-00066; individually, a “Purchase Order,”
 7   and together, the “Purchase Orders”) dated on or around January 4, 2021,
 8   January 23, 2021, January 29, 2021, January 29, 2021, June 22, 2021, September
 9   9, 2021 and September 9, 2021, respectively, for various air purifiers,
10   filters/control unit(s) and wall units (the “Products”).    Shenzhen Yapu and
11   Sichuan WuRui faithfully delivered the products ex works to United Parcel
12   Service (UPS, IVP’s shipper of choice) on time at its facilities in Shenzhen and
13   Chengdu, except for a small number of air purifiers and wall units that were
14   ordered in Purchase Order PO-00066 in September 2021.
15          23.     On information and belief, and thereon alleged, IVP did not at any
16   time object to or disagree with the delivery terms. It is believed that IVP
17   requested such terms so that IVP could take advantage of favorable shipping
18   rates and/or terms that it had with UPS. IVP had existing channels of business
19   and communications with UPS, whereas Shenzhen Yapu and Sichuan WuRui
20   did not have existing relationships with shippers who could bring the Products
21   into the United States. Thus, IVP could receive the Products more quickly and
22   efficiently if it managed and controlled shipping, rather than Shenzhen Yapu and
23   Sichuan WuRui.
24          24.     IVP agreed to pay a total in excess of $1.4 million to Shenzhen
25   Yapu and Sichuan WuRui for those Products that were ordered, made and
26   delivered as agreed.
27
28

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 1          25.     IVP has, at no time, made payment of any kind for the Products
 2   shipped under these purchase orders, despite repeated requests by Shenzhen
 3   Yapu and Sichuan WuRui for payment.
 4          26.     On information and belief, and thereon alleged, IVP did not have the
 5   funds to pay for the Products at the times that the purchase orders were placed.
 6          27.     On information and belief, and thereon alleged, IVP intended for
 7   Shenzhen Yapu and Sichuan WuRui to rely on the representation in the purchase
 8   orders that IVP would pay for the Products that were delivered.
 9          28.     On information and belief, and thereon alleged, at IVP’s instruction,
10   UPS shipped the Products ordered in Purchase Orders PO-00004, PO-WR-
11   00011, PO-WR-00014, PO-WR-00015 and PO-00053 from Shenzhen Yapu’s
12   and Sichuan WuRui’s facilities in Shenzhen and Chengdu to Los Angeles,
13   California, where some or all of the Products were held pending payment of the
14   shipping charges from IVP.
15          29.     In or around early September 2021, IVP was desperate for products,
16   but was unable to obtain the Products from UPS or to pay for additional products
17   to be made by Shenzhen Yapu and Sichuan WuRui. Nonetheless, on or around
18   September 9, 2021, IVP placed Purchase Orders PO-00065 and PO-00066 with
19   Sichuan WuRui.           On or around September 11, 2021, a representative of
20   Shenzhen Yapu and Sichuan WuRui requested payment of the overdue amounts
21   (in excess of $1.4 million) owed by IVP, so that products ordered in Purchase
22   Orders PO-00065 and PO-00066 could be manufactured. On information and
23   belief, and thereon alleged, on or around September 13, 2021, Dr. Peel promised
24   to pay at least part of the amounts due to Shenzhen Yapu and Sichuan WuRui.
25          30.     In reliance on the representation in Purchase Orders PO-00065 and
26   PO-00066 that payment would be made at least for the Products ordered therein,
27   Sichuan WuRui manufactured and shipped nearly all of the Products ordered in
28

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 1   Purchase Orders PO-00065 and PO-00066, and began manufacturing additional
 2   products ordered by IVP in further purchase orders placed in September 2021.
 3          31.     However, no payments were received by either Shenzhen Yapu or
 4   Sichuan WuRui from IVP or Medistar at any time for any of the Products
 5   ordered in the Purchase Orders.
 6          32.     On or around October 3, 2021, October 10, 2021, and November 30,
 7   2021, the representative of Shenzhen Yapu and Sichuan WuRui made additional
 8   requests for the unpaid and overdue amounts from IVP. On information and
 9   belief, and thereon alleged, at least one employee, representative or agent of IVP
10   (Dr. Zhifeng Ren) maintained a dialog with the representative of Shenzhen Yapu
11   and Sichuan WuRui regarding IVP’s obligation to pay the unpaid amounts,
12   thereby indicating to Shenzhen Yapu and Sichuan WuRui that IVP knew it owed
13   the unpaid amounts to Shenzhen Yapu and Sichuan WuRui.
14          33.     On information and belief, and thereon alleged, in or after July 2021,
15   IVP negotiated one or more payments to UPS for shipping some or all of the
16   Products held in Los Angeles. IVP and/or Medistar devised the scheme to
17   obtain the Products from UPS as a way to gain possession and/or custody of the
18   Products and avoid the obligation to pay Shenzhen Yapu and Sichuan WuRui
19   the amounts agreed in the Purchase Orders.
20
21                          FIRST CAUSE OF ACTION
22
                                 Breach of Contract
              under Comm. Code § 2609, et seq. and Civ. Code § 3300, et seq.
23
            34.     The allegations of paragraphs 1-33 are incorporated herein as if fully
24
     set forth.
25
            35.     IVP’s purchase orders and Shenzhen Yapu’s and Sichuan WuRui’s
26
     invoices formed one or more valid contracts, as the terms essential to the
27
     contract (the number of items being purchased, their price, and the dates of
28

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 1   delivery) were all agreed in the parties’ respective documents, and the parties
 2   had an ongoing business relationship.
 3          36.     IVP’s purchasing practices with Shenzhen Yapu and Sichuan
 4   WuRui at the time of submitting the purchase orders included instructions for
 5   Shenzhen Yapu and Sichuan WuRui to provide the Products packaged and ready
 6   for pick-up by the shipper (UPS) at its loading dock.
 7          37.     At no time did either Shenzhen Yapu or Sichuan WuRui breach the
 8   contract(s).
 9          38.     IVP’s failure to pay for the Products is a material breach of the
10   contract(s).
11          39.     IVP and Medistar (as IVP’s alter ego and ultimate beneficiary of [1]
12   IVP’s sales of its products including and/or incorporating the Products and [2]
13   the failure of IVP to pay for the Products) have thus injured Shenzhen Yapu and
14   Sichuan WuRui and are thus liable to Shenzhen Yapu and Sichuan WuRui for at
15   least the amounts agreed in the purchase orders and incidental damages pursuant
16   to Comm. Code § 2709, et seq.
17          40.     IVP and Medistar profited unlawfully as a result of their breach of
18   the contract(s).
19          41.     Shenzhen Yapu and Sichuan WuRui are entitled to at least actual
20   damages related to the breach plus pre-judgment and post-judgment interest,
21   pursuant to Civ. Code § 3300, et seq.
22
23                                SECOND CAUSE OF ACTION
                                          Conversion
24
                                     under Civ. Code § 3336
25
            42.     The allegations of paragraphs 1-41 are incorporated herein as if fully
26
     set forth.
27
28

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 1           43.     In the absence of payment for the Products, Shenzhen Yapu and
 2     Sichuan WuRui had ownership of and the right to possess the Products.
 3     However, IVP’s wrongful actions alleged herein (e.g., the promises to pay for
 4     the Products and the failure[s] and/or refusal[s] to pay for the Products) deprived
 5     Shenzhen Yapu and Sichuan WuRui of their rightful ownership and possession
 6     of the Products.
 7           44.     Shenzhen Yapu and Sichuan WuRui did not give IVP consent to
 8     possess the Products without paying for them.
 9           45.     IVP and Medistar (as IVP’s alter ego and ultimate beneficiary of [1]
10     IVP’s sales of its products including and/or incorporating the Products and [2]
11     the failure of IVP to pay for the Products) have thus injured Shenzhen Yapu and
12     Sichuan WuRui.
13           46.     IVP and Medistar profited unlawfully as a result of their conversion
14     of the Products, and are liable to Shenzhen Yapu and Sichuan WuRui for
15     damages caused by their conversion.
16
17                                  THIRD CAUSE OF ACTION
18
                                     Negligent Misrepresentation
                                    under Civ. Code § 1709, et seq.
19
             47.     The allegations of paragraphs 1-46 are incorporated herein as if fully
20
       set forth.
21
             48.     IVP and Medistar (as alter ego for IVP) repeatedly represented to
22
       Shenzhen Yapu and Sichuan WuRui that IVP would pay for the Products it
23
       ordered from Shenzhen Yapu and Sichuan WuRui.                     However, these
24
       representations were not true.
25
             49.     Even if IVP honestly believed that it could pay for the Products at
26
       the time that the representations were made, it had no reasonable grounds at the
27
       times that the representations were made that it could pay for the Products.
28

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 1           50.     Shenzhen Yapu and Sichuan WuRui relied on IVP’s representations.
 2           51.     On information and belief, and thereon alleged, one or more
 3     employees, officers or agents of Medistar participated in, directed, supervised,
 4     controlled, approved of and/or benefitted from IVP’s scheme to obtain the
 5     Products without paying Shenzhen Yapu and Sichuan WuRui, in collaboration
 6     with one or more employees, officers or agents of IVP.
 7           52.     As a result of IVP’s scheme, Shenzhen Yapu and Sichuan WuRui
 8     have suffered and will continue to suffer damages, and Shenzhen Yapu’s and
 9     Sichuan WuRui’s reliance on IVP’s representations was a substantial factor in
10     causing these damages.
11           53.     IVP and Medistar profited unlawfully as a result of IVP’s scheme.
12           54.     IVP and Medistar (as alter ego for IVP) have injured Shenzhen
13     Yapu and Sichuan WuRui and are thus liable to Shenzhen Yapu and Sichuan
14     WuRui for actual, compensatory and consequential damages as a result of their
15     misrepresentation.
16           55.     Shenzhen Yapu and Sichuan WuRui are also entitled to prejudgment
17     interest on their losses from the time they delivered the Products in accordance
18     with Civ. Code § 3288 and exemplary and/or punitive damages pursuant to Civ.
19     Code § 3294.
20
21                                 FOURTH CAUSE OF ACTION
22
                                    Intentional Misrepresentation
                                    under Civ. Code § 1709, et seq.
23
             56.     The allegations of paragraphs 1-55 are incorporated herein as if fully
24
       set forth.
25
             57.     IVP and Medistar (as alter ego for IVP) repeatedly represented to
26
       Shenzhen Yapu and Sichuan WuRui that IVP would pay for the Products it
27
       ordered from Shenzhen Yapu and Sichuan WuRui.                     However, these
28

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 1     representations were not true.             Alternatively, after repeated requests from
 2     Shenzhen Yapu and Sichuan WuRui for payment of long overdue amounts, IVP
 3     intentionally withheld their intention not to pay the amounts due to Shenzhen
 4     Yapu and Sichuan WuRui.
 5           58.     In the alternative to the allegation(s) in paragraph 49 above, on
 6     information and belief, and thereon alleged, IVP knew that the representations
 7     were false, or were made recklessly and without regard for their truth, at the time
 8     that the representations were made.
 9           59.     Shenzhen Yapu and Sichuan WuRui justifiably relied on IVP’s
10     representations.
11           60.     On information and belief, and thereon alleged, one or more
12     employees, officers or agents of Medistar participated in, directed, supervised,
13     controlled, approved of and/or benefitted from IVP’s scheme to obtain the
14     Products without paying Shenzhen Yapu and Sichuan WuRui, in collaboration
15     with one or more employees, officers or agents of IVP.
16           61.     As a result of IVP’s scheme, Shenzhen Yapu and Sichuan WuRui
17     have suffered and will continue to suffer damages, and Shenzhen Yapu’s and
18     Sichuan WuRui’s reliance on IVP’s representations was a substantial factor in
19     causing these damages.
20           62.     IVP and Medistar profited unlawfully as a result of IVP’s scheme.
21           63.     IVP and Medistar (as alter ego for IVP) have injured Shenzhen
22     Yapu and Sichuan WuRui and are thus liable to Shenzhen Yapu and Sichuan
23     WuRui actual, compensatory and consequential damages as a result of their
24     misrepresentation.
25           64.     Shenzhen Yapu and Sichuan WuRui are entitled to prejudgment
26     interest on their losses from the time they delivered the Products in accordance
27     with Civ. Code § 3288 and exemplary and/or punitive damages pursuant to Civ.
28     Code § 3294.

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 1                                   FIFTH CAUSE OF ACTION
 2                                              Fraud
                                    under Civ. Code § 1572, et seq.
 3
             65.     The allegations of paragraphs 1-64 are incorporated herein as if fully
 4
       set forth.
 5
             66.     IVP and Medistar (as alter ego for IVP) repeatedly represented to
 6
       Shenzhen Yapu and Sichuan WuRui that IVP would pay for the Products it
 7
       ordered from Shenzhen Yapu and Sichuan WuRui.                         However, these
 8
       representations were not true.             Alternatively, after repeated requests from
 9
       Shenzhen Yapu and Sichuan WuRui for payment of long overdue amounts, IVP
10
       intentionally withheld their intention not to pay the amounts due to Shenzhen
11
       Yapu and Sichuan WuRui.
12
             67.     In the alternative to the allegations in paragraphs 49 and 58 above,
13
       on information and belief, and thereon alleged, IVP knew at the time that the
14
       representations were made that the representations were false, or were made
15
       with reckless disregard for the truth, or were made without intent to perform
16
       them. Furthermore, on those occasions in which IVP did not respond to a
17
       request by Shenzhen Yapu and/or Sichuan WuRui for payment, the failure to
18
       disclose the truth of the matter (i.e., that IVP was not going to pay the amounts
19
       due and/or had no intention to pay the amounts due) constitutes an affirmative
20
       false representation or a knowing concealment of information material to the
21
       circumstance under California Civ. Code § 1572.
22
             68.     Shenzhen Yapu and Sichuan WuRui justifiably and reasonably
23
       relied on IVP’s representations.
24
             69.     On information and belief, and thereon alleged, one or more
25
       employees, officers or agents of Medistar participated in, directed, supervised,
26
       controlled, approved of and/or benefitted from IVP’s scheme to obtain the
27
28

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 1     Products without paying Shenzhen Yapu and Sichuan WuRui, in collaboration
 2     with one or more employees, officers or agents of IVP.
 3           70.     As a result of IVP’s scheme, Shenzhen Yapu and Sichuan WuRui
 4     have suffered and will continue to suffer damages, and Shenzhen Yapu’s and
 5     Sichuan WuRui’s reliance on IVP’s representations was the proximate cause in
 6     causing these damages.
 7           71.     IVP and Medistar profited unlawfully as a result of IVP’s scheme.
 8           72.     IVP and Medistar (as alter ego for IVP) have injured Shenzhen
 9     Yapu and Sichuan WuRui and are thus liable to Shenzhen Yapu and Sichuan
10     WuRui for at least their actual and consequential damages pursuant to Civ. Code
11     § 1709.
12           73.     Shenzhen Yapu and Sichuan WuRui are entitled to prejudgment
13     interest on their losses from the time they delivered the Products in accordance
14     with Civ. Code § 3288 and exemplary and/or punitive damages pursuant to Civ.
15     Code § 3294.
16
17                                      PRAYER FOR RELIEF
18           WHEREFORE, PLAINTIFF prays for the following relief from this Court:
19           a)      An adjudication that IVP and Medistar have breached contracts with
20     Shenzhen Yapu and Sichuan WuRui as alleged above;
21           b)      An adjudication that IVP and Medistar have converted Shenzhen
22     Yapu’s and Sichuan WuRui’s property as alleged above;
23           c)      An adjudication that IVP and Medistar have negligently and/or
24     intentionally made misrepresentations to Shenzhen Yapu and Sichuan WuRui as
25     alleged above;
26           d)      An adjudication that IVP and Medistar have defrauded Shenzhen
27     Yapu and Sichuan WuRui as alleged above;
28

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 1           e)      An accounting of all damages sustained by Shenzhen Yapu and
 2     Sichuan WuRui and profits realized by as a result of IVP’s and Medistar’s
 3     wrongful acts;
 4           f)      An award to of actual damages adequate to compensate them for
 5     breaches of contract, together with pre-judgment and post-judgment interest;
 6           g)      An award of attorneys’ fees and costs;
 7           h)      An award of punitive damages pursuant to Civ. Code § 3294(a);
 8           i)      Awards of such other and further relief as this Court may deem just
 9     and proper.
10
11     Date: _March 2, 2022_______                     Respectfully Submitted,
12                                                     CENTRAL CALIFORNIA IP
                                                       GROUP, P.C.
13
14
                                                       By: /s/ Andrew D. Fortney______
15
                                                           ANDREW D. FORTNEY
16                                                     Attorney for Plaintiffs
17
                                                       SHENZHEN YAPU TECH. CO.,
                                                       LTD. and SICHUAN WURUI TECH.
18                                                     CO., LTD.
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